Case 4:23-cv-00770-SDJ Document 23 Filed 03/15/24 Page 1 of 10 PageID #: 147




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

IMPLICIT, LLC,

                      Plaintiff,                  Civil Action No. 4:23-cv-770-SDJ
               v.

CAPITAL ONE, NATIONAL                             JURY TRIAL DEMANDED
ASSOCIATION,

                      Defendant.


                        JOINT RULE 26(f) CONFERENCE REPORT

       The parties in the above-captioned case have conferred as required by Fed. R. Civ. P.

26(f) and the Court’s Order Governing Proceedings (“Order”) (Dkt. 21) and file this joint report.

       The Rule 26(f) conference was held on February 29, 2024. Christopher Clayton of

Devlin Law Firm LLC participated on behalf of Plaintiff Implicit, LLC (“Plaintiff” or

“Implicit”). Erik Halverson and Jonah Heemstra of K&L Gates LLP participated on behalf of

Defendant Capital One, National Association (“Defendant” or “Capital One”).

   1. Suggested modifications of the proposed deadlines for the scheduling order set out
      in Appendix B

       The chart below reflects the parties’ proposed case deadlines. There is no disagreement

between the parties with respect to any date below. The dates in the chart are written in bold

face if the parties propose any modification to the Court’s proposed deadline.




                                          Page 1 of 10
Case 4:23-cv-00770-SDJ Document 23 Filed 03/15/24 Page 2 of 10 PageID #: 148




    Court’s          Agreed                                  Description
   Proposed         Proposed
   Deadline         Deadline
To be discussed                   Mediation. The parties expect to agree upon a mediator and
    at CMC                        notify the Court by the date identified in the schedule.
  Wednesday,
March 13, 2024     Wednesday,
 (No later than    March 13,      Deadline for Motions to Transfer.
21 days before       2024
     CMC)
Saturday, April
   13, 2024         Monday,       P.R. 3-1 Disclosure of Asserted Claims and Infringement
                    April 15,     Contentions (and P.R. 3-2 document production) to be
(10 days after       2024         served.
    CMC)
 Wednesday,                       Join additional parties.
 May 8, 2024
                   Wednesday,     P.R. 3-3 Invalidity Contentions (and P.R. 3-4 document
 (5 wks after      May 8, 2024    production) to be served. To the extent not already required
    CMC)                          to be disclosed, exchange Mandatory Disclosures on all
                                  issues, including damages.
Saturday, May
   18, 2024
                                  Parties to exchange proposed terms for construction and
                   Monday,
                                  identify any claim element governed by 35 U.S.C. § 112, ¶ 6
(No later than    May 20, 2024
                                  (P.R. 4-1).
 45 days after
    CMC)
 Wednesday,
May 22, 2024                      Privilege logs to be exchanged by parties (or a letter to the
                  Wednesday,
                                  Court stating that there are no disputes as to claims of
                  May 22, 2024
 (7 wks after                     privileged documents).
    CMC)
Friday, June 7,
     2024
                  Friday, June 7, Parties to exchange preliminary proposed claim construction
(No later than         2024       and extrinsic evidence supporting same. (P.R. 4-2).
 65 days after
    CMC)
 Wednesday,
 July 3, 2024
                   Wednesday,     Parties’ Final Amended Pleadings. (A motion for leave is
                   July 3, 2024   required.)
 (13 wks after
    CMC)




                                         Page 2 of 10
 Case 4:23-cv-00770-SDJ Document 23 Filed 03/15/24 Page 3 of 10 PageID #: 149




   Court’s            Agreed                               Description
  Proposed           Proposed
  Deadline           Deadline
Sunday, July 7,
    2024
                                Joint Claim Construction and Prehearing Statement to be
                   Monday, July
                                filed. (P.R. 4-3). Provide an estimate of how many pages are
 (No later than      8, 2024
                                needed to brief the disputed claims.
  95 days after
     CMC)
  Wednesday,
 July 24, 2024
                    Wednesday,
                                   Respond to Amended Pleadings.
                   July 24, 2024
 (16 wks after
    CMC)
   Tuesday,
August 6, 2024
                     Tuesday,
                                   Completion date for discovery on claim construction. (P.R.
                     August 6,
 (No later than                    4-4).
                      2024
 125 days after
    CMC)
  Wednesday,
August 21, 2024
                    Wednesday,
                                   Opening claim construction (“CC”) brief.
                    August 21,
 (No later than                    (P.R. 4-5(a)).
                      2024
 140 days after
     CMC)
  Wednesday,
  September 4,
      2024         Wednesday,
                                   Responsive claim construction brief.
                   September 4,
                                   (P.R. 4-5(b)).
(No later than 2       2024
 wks after CC
     brief)
  Wednesday,
 September 11,
     2024
                    Wednesday,
                                   Reply claim construction brief.
                   September 11,
(No later than 7                   (P.R. 4-5(c))
                       2024
   days after
 responsive CC
     brief)
Monday, August
    26, 2024         Monday,
                                   Submit technology synopsis/tutorial (both hard copy and
                    August 26,
                                   disk).
 (4 wks before        2024
  CC hearing)

                                         Page 3 of 10
 Case 4:23-cv-00770-SDJ Document 23 Filed 03/15/24 Page 4 of 10 PageID #: 150




    Court’s            Agreed                                Description
   Proposed           Proposed
   Deadline           Deadline
    Friday,
 September 13,
     2024              Friday,      Parties to file joint claim construction and chart. (P.R. 4-
                    September 13,   5(d)). Parties shall work together to agree on as many claim
(At least 10 days       2024        terms as possible.
   before CC
     hearing)
    Monday,           Monday,       Claim Construction hearing Monday, September 23, 2024, at
 September 23,      September 23,   10:00 a.m. at the United States Courthouse, 7940 Preston
       2024             2024        Road, Plano, TX 75024.
                                    Deadline for Initial Mandatory Disclosure of all persons,
                                    documents, data compilations and tangible things, which are
   Monday,
                                    relevant to a claim or defense of any party and which has not
  October 28,
                      Monday,       previously been disclosed. This deadline is not an extension
     2024
                     October 28,    of earlier deadlines set out in this Court’s order or the Patent
                        2024        Rules, nor an excuse to delay disclosure of information. It is
(5 wks after CC
                                    a “catchall” deadline for provision of all remaining
    hearing)
                                    information which may be relevant to a claim or defense of
                                    any party at trial.
  Monday,
 November 4,                        Parties shall notify the Court of the name, address, and
                     Monday,
    2024                            telephone number of the agreed-upon mediator, or request
                    November 4,
                                    that the Court select a mediator, if they are unable to agree on
                       2024
(6 wks after CC                     one.
    hearing)
   Monday,                       Parties with burden of proof to designate Expert Witnesses
 November 25,                    other than claims construction experts and provide their
                      Friday,
      2024                       expert witness reports, to include for ALL experts all
                    November 22,
                                 information set out in Rule 26(a)(2)(B).
                        2024
(9 wks after CC
    hearing)                        Comply with P.R. 3-7 (Designation of Willfulness Opinions).
                                    Parties to Designate Expert Witnesses on issues for which the
                                    parties do not bear the burden of proof, and provide their
   Monday,
                                    expert witness report, to include for ALL experts all
  December 9,
                     Monday,        information set out in Rule 26(2)(B).
     2024
                    December 9,
                       2024         Note: Objections to any expert, including Daubert motions,
 (11 wks after
                                    shall be filed within 3 weeks after the expert’s Report has
 CC hearing)
                                    been disclosed. Such objections and motions are limited to
                                    ten pages each.
   Monday,            Monday,
 December 16,       December 16,    Mediation deadline.
    2024               2024

                                           Page 4 of 10
 Case 4:23-cv-00770-SDJ Document 23 Filed 03/15/24 Page 5 of 10 PageID #: 151




    Court’s            Agreed                                Description
   Proposed           Proposed
   Deadline           Deadline

 (12 wks after
 CC hearing)
   Monday,
 December 23,
                      Friday,
     2024                        Discovery deadline. All discovery must be served in time to
                    December 20,
                                 be completed by this date.
                        2024
 (13 wks after
 CC hearing)
   Monday,
  January 13,
                                    File Dispositive Motions and any other motions that may
     2025
                                    require a hearing. Regardless of how many dispositive
                                    motions a party files, each party is limited to a total of sixty
  (16 wks after       Monday,
                                    pages for such motions. Each individual motion shall comply
CC hearing and       January 13,
                                    with Local Rule CV-7.
  no later than         2025
110 days prior
                                    Responses to motions shall be due in accordance with Local
 to the filing of
                                    Rule CV-7(e).
the Joint Final
      PTO)

Friday, April 11,                   Counsel and unrepresented parties are each responsible for
      2025                          contacting opposing counsel and unrepresented parties to
                    Friday, April   determine how they will prepare the Joint Final Pretrial
 (5 wks before        11, 2025      Order, see www.txed.uscourts.gov, and Proposed Jury
 final pretrial                     Instructions and Verdict Form (or Proposed Findings of Fact
  conference                        and Conclusions of Law in nonjury cases).
    “PTC”)
                                    Motions in limine due.
  Wednesday,
 April 16, 2025
                     Wednesday, File Joint Final Pretrial Order. Exchange Exhibits and deliver
                    April 16, 2025 copies to the Court. At this date, all that is required to be
(30 days before
                                   submitted to the Court is a hyperlinked exhibit list on disk (2
     PTC)
                                   copies) and no hard copies.
                                   Video Deposition Designation due.

                                    Each party who proposes to offer a deposition by video shall
Friday, April 18,
                                    serve on all other parties a disclosure identifying the line and
      2025          Friday, April
                                    page numbers to be offered. All other parties will have seven
                      18, 2025
                                    calendar days to serve a response with any objections and
 (4 wks before
                                    requesting cross examination line and page numbers to be
     PTC)
                                    included. Counsel must consult on any objections and only
                                    those which cannot be resolved shall be presented to the

                                           Page 5 of 10
Case 4:23-cv-00770-SDJ Document 23 Filed 03/15/24 Page 6 of 10 PageID #: 152




   Court’s            Agreed                                  Description
  Proposed           Proposed
  Deadline           Deadline
                                    Court. The party who filed the initial Video Deposition
                                    Designation is responsible for preparation of the final edited
                                    video in accordance with all parties’ designations and the
                                    Court’s rulings on objections.
                                    Response to motions in limine due.

                                 File objections to witnesses, deposition extracts, and exhibits,
                                 listed in pre-trial order. (This does not extend the deadline to
Friday, May 2,
                                 object to expert witnesses.) If numerous objections are filed,
     2025
                  Friday, May 2, the Court may set a hearing prior to the final pretrial
                       2025      conference.
(2 wks before
    PTC)
                                    File Proposed Jury Instructions/Form of Verdict (or Proposed
                                    Findings of Fact and Conclusions of Law).

                                    File Proposed Voir Dire Questions.
                     Friday,        Final Pretrial Conference at 1:30 p.m. at the United States
  Friday,
                   May 16, 2025     Courthouse, 7940 Preston Road, Plano, TX 75024.
May 16, 2025
                                    10:00 a.m. Jury Selection and Trial at the United States
     To be
                                    Courthouse, 7940 Preston Road, Plano, TX 75024.
  determined

       Agreements Between Parties:

       Privilege Logs

       The parties agree that they need not log any documents generated after the

commencement of this litigation.

       a) The need for and any specific limits on discovery relating to claim construction,
          including depositions of witnesses, including expert witnesses;

        The parties agree that there is no need for any specific limits on discovery relating to

claim construction beyond those set out in the Federal Rules of Civil Procedure.

       b) The scheduling of a Claim Construction Pre-hearing Conference to be held after
          the Joint Claim Construction and Pre-hearing Statement provided for in P.R.4-3
          has been filed.

       The parties expect to not need a claim construction pre-hearing conference in this matter.

                                           Page 6 of 10
Case 4:23-cv-00770-SDJ Document 23 Filed 03/15/24 Page 7 of 10 PageID #: 153




   2. If the parties believe mediation may be appropriate, and the parties can agree upon
      a mediator, the name, address, and phone number of that mediator should be
      stated.

       The parties have discussed the value of mediation and at this point believe that mediation

may be beneficial in the future but would not currently be beneficial.

   3. What changes, if any, should be made to the limitations on discovery imposed by the
      rules, including the number of depositions and interrogatories.

       The parties believe no modifications need to be made to the normal limitations on

discovery as set out in the Order Governing Proceedings.

   4. The identity of persons expected to be deposed.

       At this time Plaintiff anticipates that any persons expected to be deposed will come from

the lists disclosed in the Initial Disclosures. Plaintiff will supplement those disclosures should

additional persons be identified who may be expected to be deposed.

       At this time Defendant anticipates that any persons expected to be deposed will come

from the lists disclosed in the Initial Disclosures. Defendant will supplement those disclosures

should additional persons be identified who may be expected to be deposed.

       The parties reserve the right to depose additional persons as they may become necessary.

   5. Any issues relating to disclosure of information (electronically stored and otherwise)
      including the form or forms in which it should be produced and timing of
      production. (See Section E - Mandatory Disclosures.)

       None at this time.

   6. Any issues relating to preserving discoverable information, including whether a
      Preservation Order is needed to protect any documents and/or electronically stored
      information.

       The parties certify that they have taken reasonable steps to ensure that documents and

things relevant to this action have been (and are continuing to be) preserved. The parties




                                            Page 7 of 10
Case 4:23-cv-00770-SDJ Document 23 Filed 03/15/24 Page 8 of 10 PageID #: 154




understand their duties to preserve relevant information and do not believe that a preservation

order is necessary.

   7. Whether any other orders should be entered by the Court pursuant to Fed. R. Civ.
      P. 26(c), Fed. R. Civ. P. 16(b), or Fed. R. Civ. P. 16(c).

       The parties jointly state that they have met and conferred regarding the Protective Order

and will continue to meet and confer to submit a joint proposed Protective Order to the Court.

   8. Estimated trial time.

   The parties estimate the above captioned action to be tried will require five days.

   9. The names of the attorneys who will appear on behalf of the parties at the
      management conference (the appearing attorney must be an attorney of record and
      have full authority to bind the client).

       It is expected that Christopher Clayton from Devlin Law Firm LLC will attend the Case

Management Conference on behalf of Plaintiff.

       It is expected that Melissa Smith of Gillam & Smith LLP and Erik Halverson of K&L

Gates LLP will attend the Case Management Conference on behalf of Defendant.

   10. Any other matters counsel deem appropriate for inclusion in the joint conference
       report.

       Defendant has prepared, and expects to file, inter partes review petitions challenging the

patentability of the patents asserted in this case. Defendant will seek to stay this case upon filing

of those petitions.




                                            Page 8 of 10
Case 4:23-cv-00770-SDJ Document 23 Filed 03/15/24 Page 9 of 10 PageID #: 155




Dated: March 15, 2024                     Respectfully submitted,

 DEVLIN LAW FIRM LLC                      GILLAM & SMITH, LLP

 By: James M. Lennon                      By: Erik J. Halverson
 James M. Lennon                          Melissa R. Smith
 jlennon@devlinlawfirm.com                Texas Bar No. 24001351
 Timothy Devlin                           GILLAM & SMITH, LLP
 tdevlin@devlinlawfirm.com                303 South Washington Avenue
 Christopher Clayton                      Marshall, Texas 75670
 cclayton@devlinlawfirm.com               Telephone: (903) 934-8450
 DEVLIN LAW FIRM LLC                      Facsimile: (903) 934-9257
 1526 Gilpin Avenue                       Email: melissa@gillamsmithlaw.com
 Wilmington, DE 19806
 Telephone: (302) 449-9010                Devon C. Beane
 Facsimile: (302) 353-4251                Erik J. Halverson
                                          K&L GATES LLP
 Attorneys for Plaintiff                  70 West Madison Street, Suite 3100
 Implicit, LLC                            Chicago, Illinois 60602
                                          Telephone: (312) 807-4436
                                          Facsimile: (312) 827-8000

                                          Attorneys for Defendant
                                          Capital One, National Association




                                 Page 9 of 10
Case 4:23-cv-00770-SDJ Document 23 Filed 03/15/24 Page 10 of 10 PageID #: 156




                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was filed electronically on all

counsel of record through the Court’s electronic filing system on March 15, 2024.



                                                      /s/ James M. Lennon
                                                      James M Lennon




                                         Page 10 of 10
